AO 257 (Rev. 6/78)       Case 3:20-cr-00371-WHA Document 1 Filed 10/01/20 Page 1 of 44

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT           INFORMATION             INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                      SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                      SAN FRANCISCO DIVISION
 PLEASE SEE ATTACHMENT                                          Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-                                                                 FILED
                                                                meanor
                                                                                  ROBERT T. BROCKMAN                                    Oct 01 2020
                                                                Felony
                                                                                      DISTRICT COURT NUMBER                            SUSANY. SOONG
PENALTY:      PLEASE SEE ATTACHMENT
                                                                                      3:20-cr-00371 WHA                           CLERK, U.S. DISTRICT COURT
                                                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                        SAN FRANCISCO



                                                                                                                DEFENDANT
                          PROCEEDING                                                    IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                     INTERNAL REVENUE SERVICE
                                                                                          summons was served on above charges           
       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                   SHOW                                                                           Federal         State


                                                }
       of:                                            DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY          DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                      MAGISTRATE                      been filed?         No             filed


                                                }
                                                       CASE NO.
                                                                                                                 Month/Day/Year
       prior proceedings or appearance(s)                                             DATE OF
                                                                                      ARREST
                                                                                                     
       before U.S. Magistrate regarding this
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

                                                                                      DATE TRANSFERRED                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form          DAVID L. ANDERSON                        TO U.S. CUSTODY
                                                                                                                    
                             U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)                Michael G. Pitman, AUSA
                                                ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           NO PROCESS*            WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
         Case 3:20-cr-00371-WHA Document 1 Filed 10/01/20 Page 2 of 44




                             Attachment to Indictment Penalty Sheet
                                   ROBERT T. BROCKMAN

18 U.S.C. § 371 – Conspiracy
       5 yrs prison, $250k fine, 3 yrs sup. rel., $100 special assessment;

26 U.S.C. § 7201 – Tax Evasion
       5 yrs prison, $250k fine, 3 yrs sup. rel., $100 special assessment, costs of prosecution;

31 U.S.C. §§ 5314 & 5322(b) –FBAR Violations
       10 yrs prison, $500k fine, 3 yrs sup. rel., $100 special assessment;

18 U.S.C. § 1343 – Wire Fraud Affecting a Financial Institution;
       30 yrs prison, $1M fine, 5 yrs sup. rel., $100 special assessment;

18 U.S.C. § 1956(a)(1)(B)(i) – Concealment Money Laundering;
       20 yrs prison, $500k fine or twice the gross gain or loss (whichever is greater), 3 yrs sup. rel.,
       $100 special assessment;

18 U.S.C. § 1956(a)(1)(A)(ii) – Tax Evasion Money Laundering;
       20 yrs prison, $500k fine or twice the gross gain or loss (whichever is greater), 3 yrs sup. rel.,
       $100 special assessment;

18 U.S.C. § 1956(a)(2)(B)(i) – International Concealment Money Laundering;
       20 yrs prison, $500k fine or twice the gross gain or loss (whichever is greater), 3 yrs sup. rel.,
       $100 special assessment;

18 U.S.C. § 1512(b)(2)(B) – Evidence Tampering;
       20 yrs prison, $250k fine, 3 yrs sup. rel., $100 special assessment;

18 U.S.C. § 1512(c)(1) – Destruction of Evidence;
       20 yrs prison, $250k fine, 3 yrs sup. rel., $100 special assessment;
Case 3:20-cr-00371-WHA Document 1 Filed 10/01/20 Page 3 of 44


     United States District Court                                                            FILED
                         FOR THE                                                               Oct 01 2020
              NORTHERN DISTRICT OF CALIFORNIA                                                SUSANY. SOONG
                                                                                        CLERK, U.S. DISTRICT COURT

                  VENUE: SAN FRANCISCO                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                              SAN FRANCISCO




                       UNITED STATES OF AMERICA,
                                           V.




                                ROBERT T. BROCKMAN




                               DEFENDANT(S).


  INDICTMENT


                               18 U.S.C. § 371 – Conspiracy
                             26 U.S.C. § 7201 – Tax Evasion
                      31 U.S.C. §§ 5314 & 5322(b) –FBAR Violations
              18 U.S.C. § 1343 – Wire Fraud Affecting a Financial Institution;
              18 U.S.C. § 1956(a)(1)(B)(i) – Concealment Money Laundering;
              18 U.S.C. § 1956(a)(1)(A)(ii) – Tax Evasion Money Laundering;
        18 U.S.C. § 1956(a)(2)(B)(i) – International Concealment Money Laundering;
                     18 U.S.C. § 1512(b)(2)(B) – Evidence Tampering;
                     18 U.S.C. § 1512(c)(1) – Destruction of Evidence




        A true bill.

             /s/ Foreperson of the Grand Jury
                                                                 Foreman

                                   1st
        Filed in open court this __________ day of

           October 2020
        _________________________________.

         ____________________________________________
                                                Clerk
         ____________________________________________

                                                         Summons
                                                Bail, $_______________
         Hon. Nathanael Cousins, United States Magistrate Judge
              Case 3:20-cr-00371-WHA Document 1 Filed 10/01/20 Page 4 of 44

                                                                 FILED
 1 DAVID L. ANDERSON (CABN 149604)                                 Oct 01 2020
   United States Attorney
 2
                                                              SUSANY. SOONG
 3                                                       CLERK, U.S. DISTRICT COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA
 4
                                                               SAN FRANCISCO
 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                               SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                CASE NO. 3:20-cr-00371 WHA

12          Plaintiff,                        VIOLATIONS:
                                              18 U.S.C. § 371 – Conspiracy to Defraud the United
13     v.                                     States and Commit Tax Evasion;
                                              26 U.S.C. § 7201 – Tax Evasion;
14   ROBERT T. BROCKMAN,
                                              31 U.S.C. §§ 5314 & 5322(b) – FBAR Violations;
15          Defendant.                        18 U.S.C. § 1343 – Wire Fraud Affecting a Financial
                                              Institution;
16                                            18 U.S.C. § 1956(a)(1)(B)(i) – Concealment Money
                                              Laundering;
17                                            18 U.S.C. § 1956(a)(1)(A)(ii) – Tax Evasion Money
                                              Laundering;
18
                                              18 U.S.C. § 1956(a)(2)(B)(i) – International
19                                            Concealment Money Laundering;
                                              18 U.S.C. § 1512(b)(2)(B) – Evidence Tampering;
20                                            18 U.S.C. § 1512(c)(1) – Destruction of Evidence;
                                              and
21                                            18 U.S.C. §§ 982(a)(1), 982(a)(2)(A) & 28 U.S.C. §
                                              2461(c) – Forfeiture Allegations
22

23                                            SAN FRANCISCO VENUE

24

25

26                                  INDICTMENT
27 The Grand Jury charges:

28


     INDICTMENT
                Case 3:20-cr-00371-WHA Document 1 Filed 10/01/20 Page 5 of 44




 1                                                Introduction

 2         At all times relevant to this Indictment:

 3         1.       Defendant ROBERT T. BROCKMAN was a United States citizen residing in Houston,

 4 Texas and Pitkin County, Colorado.

 5         2.       Universal Computer Systems Holding, Inc. (“UCSH”), was a Delaware corporation.

 6 UCSH was the holding company for a group of companies involved in the software business. During all

 7 relevant periods, BROCKMAN was the Chief Executive Officer of UCSH.

 8         3.       Universal Computer Systems, Inc. (“UCS”), which had offices in Houston, Texas, was a

 9 subsidiary of UCSH and was in the business of servicing the software needs of automobile dealerships.

10 During all relevant periods, BROCKMAN was the Chief Executive Officer of UCS.

11         4.       Dealer Computer Services, Inc. (“DCS”), another UCSH subsidiary, was a Delaware

12 corporation. During all relevant periods, BROCKMAN was the Chief Executive Officer of DCS.

13         5.       The Reynolds and Reynolds Company (“Reynolds & Reynolds”) was an Ohio

14 corporation. Reynolds & Reynolds was in the business of servicing the software needs of automobile

15 dealerships. In or about 2006, UCS and Reynolds & Reynolds merged, retaining the name Reynolds &

16 Reynolds. The stock of the new Reynolds & Reynolds was held by UCSH. Beginning in approximately

17 August 2006, BROCKMAN was the Chief Executive Officer of Reynolds & Reynolds.

18         6.       The A. Eugene Brockman Charitable Trust (“AEBCT”), formerly the A. Eugene

19 Brockman Children’s Trust, was a trust settled on or about May 26, 1981 in Bermuda. The four named

20 beneficiaries were BROCKMAN, BROCKMAN’s wife, BROCKMAN’s brother, and BROCKMAN’s

21 sister-in-law.

22         7.       Spanish Steps Holdings, LLC, was a Nevisian company, originally formed by

23 BROCKMAN in or about 1997 in Nevis and wholly owned by the AEBCT. Spanish Steps Holdings,

24 Ltd., was a British Virgin Islands (“BVI”) company, originally formed by BROCKMAN in or about

25 1989 in the BVI, whose shares were wholly owned by Spanish Steps Holdings, LLC (collectively

26 “Spanish Steps”). Spanish Steps owned 93% of the shares of UCSH, as well as 100% of the investment

27 shares of Point Investments, Ltd.

28


     INDICTMENT                                        2
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 1         8.       Point Investments, Ltd., was a Bermudian entity, originally incorporated by

 2 BROCKMAN on or about July 14, 1999 in the BVI. On or about November 30, 2009, BROCKMAN

 3 re-incorporated Point Investments, Ltd., in Bermuda. After that date, Point Investments, Ltd., was

 4 wholly owned by the Point Purpose Trust, a Bermudian trust (collectively “Point”), and Spanish Steps.

 5 Point had bank accounts in Bermuda and Switzerland. Point was created to invest in private equity

 6 funds managed by Vista Equity Partners (“Vista”), a private equity firm which was formed in or about

 7 March 2000 by Individual Two, and which maintained its principal place of business in the Northern

 8 District of California. Vista invested primarily in United States–based software companies (“portfolio

 9 companies”). A portion of the capital that BROCKMAN invested, through Point, in various Vista funds

10 came from UCS’s retained earnings.

11         9.       On or about March 6, 1995, BROCKMAN created The St. John’s Trust Company

12 (“SJTC”), a Bermudian entity, to act as the Trustee for the AEBCT. BROCKMAN caused various

13 individuals to be appointed and serve as the Directors of SJTC. In or about 2010, BROCKMAN caused

14 Individual One to become a Director of SJTC.

15         10.      From 1995 through the date of this Indictment, BROCKMAN’s foreign entities

16 (“offshore structure”), were managed by various individuals, each of whom was appointed by, and

17 answerable to, BROCKMAN. In or about 2007, AEBCT, Spanish Steps, SJTC, and Point were all

18 managed, in part or in whole, by Individual One. Individual One was compensated on an annual basis
19 by BROCKMAN for his management of BROCKMAN’s offshore structure and had periodic

20 performance and salary reviews.

21         11.      Edge Capital Investments, Ltd. (“Edge”), was a Nevisian corporation. Edge was

22 managed by Individual One to create the appearance that Edge was not associated with BROCKMAN in

23 any way. In reality, Individual One was employed, paid, and supervised by BROCKMAN, and

24 BROCKMAN retained full dominion and control over Edge.

25         12.      Cabot Global Investments, Ltd. (“Cabot”), was a Nevisian corporation. Cabot was

26 managed by Individual One to create the appearance that Cabot was not associated with BROCKMAN

27 in any way. In reality, Individual One was employed, paid, and supervised by BROCKMAN, and

28 BROCKMAN retained full dominion and control over Cabot.


     INDICTMENT                                         3
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 1          13.     Tangarra Consultants, Ltd. (“Tangarra”), was a Bermudian corporation. Tangarra was

 2 organized, formed, and managed by Individual One.

 3          14.     In or about March 2000, BROCKMAN, through Point, committed $300 million to

 4 Vista’s first private equity fund – Vista Equity Fund II (“VEF II”). In or about 2004, this commitment

 5 to VEF II was increased to $1 billion.

 6          15.     BROCKMAN, through Point and Edge, was the only limited partner in VEF II.

 7          16.     BROCKMAN, through Point, invested in numerous Vista funds in addition to VEF II.

 8 BROCKMAN only invested in Vista funds that were organized outside the United States.

 9          17.     In the private equity fund industry, when profits are distributed to investors, the amount

10 distributed to each investor is determined based on each investor’s share of the total investment in the

11 underlying fund, as reflected in the applicable Partnership Agreement, and is termed a “Waterfall

12 Calculation,” or simply “the Waterfall.”

13          18.     In or about 2006, DCS borrowed $2.4 billion to finance the merger of UCS and Reynolds

14 & Reynolds (“the Debt”).

15          19.     Deutsche Bank Securities, Inc., together with its subsidiaries including Deutsche Bank

16 Trust Company Americas (collectively “Deutsche Bank”), was the Administrative Agent for the Debt,

17 and acted as a Joint Lead Arranger and Joint Book Manager for the Debt.

18          20.     The Debt was a syndicated loan, also known as a syndicated bank facility, meaning that

19 the financing was offered by a group of lenders – referred to as a syndicate – who worked together to

20 fund the loan.

21          21.     The Debt was issued in three different tiers, also known as tranches. Among other things,

22 the tiers had different rates of return and conditions for repayment in the event of default.

23          22.     Each of the three different tiers of the Debt was controlled by a separate contract (“Credit

24 Agreement”).

25          23.     All three of the Credit Agreements were dated October 26, 2006, and all three Credit

26 Agreements were signed by BROCKMAN as Chief Executive Officer of DCS and, under a separate

27 signature block, by BROCKMAN as Chief Executive Officer of UCSH.

28


     INDICTMENT                                          4
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 1          24.     All three Credit Agreements contemplated that the Debt would be traded on the

 2 secondary market after it had been issued, and all three Credit Agreements included restrictions on

 3 which individuals and entities would be permitted to purchase the Debt on the secondary market.

 4 Among other things, all three of the Credit Agreements contained a material provision excluding any

 5 “Affiliate” of DCS from purchasing the Debt on the secondary market.

 6          25.     All three of the Credit Agreements defined an “Affiliate” of DCS to include any

 7 individual or entity directly or indirectly under common control with DCS. Because BROCKMAN was

 8 the Chief Executive Officer of DCS, and retained full dominion and control over Edge, Edge was an

 9 “Affiliate” of DCS under all three of the Credit Agreements.

10          26.     All three of the Credit Agreements required DCS to periodically provide Deutsche Bank

11 with certain financial information, including audited financial statements for UCSH and its subsidiaries,

12 and quarterly compliance certificates; the Agreements further required Deutsche Bank to promptly

13 distribute that financial information to holders of the Debt.

14          27.     United States citizens who had authority over certain foreign bank accounts, and/or a

15 financial interest in such foreign bank accounts, had reporting obligations to the United States. The

16 Bank Secrecy Act and its implementing regulations required United States citizens to report to the

17 United States Treasury any financial interest in, or signatory authority over, any bank account or other

18 financial account held in foreign countries, for every calendar year in which the aggregate balance of all
19 such foreign accounts exceeded $10,000 at any point during the year, using United States Treasury Form

20 TD F 90-22.1, Report of Foreign Bank and Financial Accounts. This form is commonly known as a

21 Foreign Bank Account Report, or “FBAR.” The FBAR for an applicable year was due by June 30 of the

22 following year.

23 COUNT ONE:               (18 U.S.C. § 371 – Conspiracy to Defraud the United States & Commit

24                          Tax Evasion)

25          28.     The allegations set forth in paragraphs 1 through 27 of this Indictment are re-alleged and

26 incorporated as if set forth fully herein.

27          29.     From on or about December 1, 1999, and continuing through on or about October 15,

28 2019, in the Northern District of California and elsewhere, the defendant,


     INDICTMENT                                          5
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 1                                          ROBERT T. BROCKMAN,

 2 with others known and unknown to the grand jury, did unlawfully, voluntarily, and willfully conspire to:

 3 (a) defraud the United States government through dishonest and deceitful means, to wit: the Department

 4 of the Treasury, Internal Revenue Service (“IRS”), in the ascertainment, assessment, computation, and

 5 collection of revenue, particularly individual federal income taxes due and owing by BROCKMAN for

 6 the tax years 2000 through and including 2018; and (b) commit tax evasion, in violation of Title 26,

 7 United States Code, Section 7201, of the individual federal income taxes due and owing by

 8 BROCKMAN for the tax years 2000 through and including 2018.

 9                                         Objective of the Conspiracy

10          30.     The objective of the conspiracy was for BROCKMAN, from December 1, 1999, through

11 October 15, 2019, to conceal from the IRS capital gain income BROCKMAN earned as a result of his

12 investments in Vista funds through Point; deposit some of this income in unreported foreign bank

13 accounts; and evade the payment of United States federal income tax on this income.

14          31.     It was further the objective of the conspiracy for BROCKMAN, using nominees,

15 including Individual One, to create a false paper trail regarding his offshore structure, including by filing

16 materially false United States Individual Income Tax Returns, Forms 1040, to give the appearance that

17 BROCKMAN did not own or control AEBCT, Spanish Steps, SJTC, and Point, when, in reality,

18 BROCKMAN had complete dominion and control over these entities, their Directors, Officers, and
19 Trustees, and received the benefit of all the income deposited into the foreign bank accounts in these

20 entities’ names.

21          32.     It was further the objective of the conspiracy for BROCKMAN, using nominees,

22 including Individual One, to create a false paper trail giving the appearance that BROCKMAN did not

23 have any relationship with Point, Edge, or Cabot, when, in reality, BROCKMAN exercised full

24 dominion and control over Point, Edge, and Cabot, and used them to purchase the “Frying Pan Canyon

25 Ranch,” the “Mountain Queen” vacation home, and the luxury yacht “Turmoil” (later renamed

26 “Albula”) with unreported taxable income, for his personal use, and to conceal BROCKMAN’s control

27 over Point, Edge, and Cabot from the IRS by failing to file truthful and accurate FBARs.

28


     INDICTMENT                                           6
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 1                                             Manner and Means

 2          The manner and means by which BROCKMAN and his co-conspirators sought to achieve these

 3 objectives included, among others, the following:

 4          33.    It was part of the conspiracy and scheme and artifice to defraud that, in an attempt to

 5 conceal a portion of his taxable income, primarily capital gains earned as a result of his investments in

 6 Vista funds through Point, in or about 2000, BROCKMAN, with assistance from other individuals

 7 known and unknown to the Grand Jury, created a complex network of offshore companies and trusts,

 8 and appointed nominees to manage these entities for him. These nominees were compensated and

 9 employed by BROCKMAN to act as Directors, Officers, and Trustees of BROCKMAN’s offshore

10 structure, when, in reality, BROCKMAN completely controlled these entities and made all substantive

11 decisions in their regard.

12          34.    It was further part of the conspiracy and scheme and artifice to defraud that

13 BROCKMAN created and used a proprietary, encrypted email system to communicate with the

14 nominees he appointed and employed to manage his offshore structure and foreign entities. Each of the

15 users of this encrypted email system was given a code name to be used when communicating with

16 BROCKMAN and each other. BROCKMAN’s email code name was “Permit” or “Permit1.” Individual

17 One’s code name was “Redfish.” Other code names given by BROCKMAN to nominees he appointed

18 to manage his offshore structure included “King,” “Bonefish,” and “Snapper.” Individual Two was
19 given the code name “Steelhead.” In these encrypted emails, BROCKMAN often referred to the IRS as

20 “the house.”

21          35.    It was further part of the conspiracy and scheme and artifice to defraud that, “on paper,”

22 Spanish Steps owned approximately 93% of the preferred stock, or investment shares, of

23 BROCKMAN’s company UCSH. Since Spanish Steps was owned by the AEBCT, the Trustee of which

24 was the SJTC, this arrangement created the appearance that Directors of the SJTC controlled UCSH,

25 UCS, and Reynolds & Reynolds. In reality, Directors of the SJTC were employed by, and served at the

26 pleasure of, BROCKMAN. BROCKMAN made all substantive decisions regarding UCSH, UCS, and

27 Reynolds & Reynolds. From 2010, and continuing through about September 2018, Individual One was

28 a Director of SJTC.


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 1          36.    It was further part of the conspiracy and scheme and artifice to defraud that, in or about

 2 March 2000, BROCKMAN, through Point and in agreement with Individual Two, committed

 3 approximately $300 million to VEF II. Subsequently, in or about 2004, this commitment was increased

 4 to $1 billion. From 2000, and continuing through 2014, funds were invested by BROCKMAN, through

 5 Point, in VEF II, as needed to purchase portfolio companies. BROCKMAN funded these investments,

 6 in part, using retained earnings from UCS.

 7          37.    It was further part of the conspiracy and scheme and artifice to defraud that, in addition to

 8 investments in VEF II, BROCKMAN, through Point, invested in numerous other Vista funds.

 9          38.    It was further part of the conspiracy and scheme and artifice to defraud that

10 BROCKMAN earned approximately $2 billion in capital gains as a result of his investments in Vista

11 funds through Point.

12          39.    It was further part of the conspiracy and scheme and artifice to defraud that the capital

13 gains distributed by Vista to Point for BROCKMAN’s benefit were directed by BROCKMAN and his

14 nominees, including Individual One, to be wired from Vista’s bank accounts in the Northern District of

15 California and elsewhere, to bank accounts in Point’s name in Bermuda and Switzerland.

16          40.    It was further part of the conspiracy and scheme and artifice to defraud that capital gains

17 BROCKMAN earned as a result of his investments in Vista funds through Point, as directed by

18 BROCKMAN, were not reported to the IRS by BROCKMAN on his United States Individual Income
19 Tax Returns, Forms 1040, although BROCKMAN enjoyed complete dominion and control over these

20 earnings. No United States federal income tax was paid on these capital gains.

21          41.    It was further part of the conspiracy and scheme and artifice to defraud that, in an attempt

22 to conceal BROCKMAN’s ownership and control over foreign bank accounts held in the name of Point,

23 BROCKMAN did not report his interest and ownership over those foreign bank accounts as required by

24 Title 31, United States Code, Sections 5314 & 5322 and Title 31, Code of Federal Regulations, Sections

25 1010.350, 1010.306(c, d) & 1010.840(b), despite the fact that BROCKMAN enjoyed complete

26 dominion and control over those accounts.

27          42.    It was further part of the conspiracy and scheme and artifice to defraud that, in an attempt

28 to conceal BROCKMAN’s ownership and control over foreign bank accounts held in the name of Edge


     INDICTMENT                                          8
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 1 and Cabot, BROCKMAN did not report his interest and ownership over those foreign bank accounts as

 2 required by Title 31, United States Code, Sections 5314 & 5322 and Title 31, Code of Federal

 3 Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b), despite the fact that BROCKMAN

 4 enjoyed complete dominion and control over those accounts.

 5                                                   Overt Acts

 6          In furtherance of the conspiracy, and to effect the objectives thereof, the following overt acts

 7 were committed within the Northern District of California and elsewhere:

 8          43.    In or about September 1999, BROCKMAN directed and caused the opening of a bank

 9 account for Point at the Bermuda Commercial Bank, account number ***4132, with an initial deposit of

10 more than $10 million.

11          44.    On or about July 7, 2004, BROCKMAN directed and caused a transaction to be

12 completed, code named “Hotrod,” in which approximately $635 million of UCS’s retained earnings

13 were distributed to Spanish Steps, for transfer to Point and eventual investment in Vista funds, without

14 properly reporting the transactions to the IRS.

15          45.    On or about August 27, 2006, BROCKMAN, using his encrypted email system, informed

16 his nominees, code named “Bonefish” and “Redfish,” that he had read the United States Senate’s

17 Permanent Subcommittee on Investigations’ report entitled “Tax Haven Abuses: The Enablers, The

18 Tools and Secrecy” and, based on this report, BROCKMAN subsequently directed his nominees to
19 change the name of the “A. Eugene Brockman Children’s Trust” to the “A. Eugene Brockman

20 Charitable Trust.”

21          46.    On or about September 23, 2006, BROCKMAN instructed Individual One that

22 BROCKMAN was to be given: 1) quarterly reports on “all portfolio companies;” 2) amendments to the

23 VEF II partnership agreement; and 3) copies of annual audits of VEF II and another Vista fund named

24 Vista Equity Fund III.

25          47.    On or about June 3, 2007, BROCKMAN, using his encrypted email system, directed

26 Individual One to purchase a computer program called “Evidence Eliminator” for Individual One’s

27 computers.

28


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 1          48.    On or about July 23, 2008, BROCKMAN, using his encrypted email system, directed

 2 Individual One on the methods necessary to create more convincing backdated documents.

 3 BROCKMAN notified Individual One that “[a]s a reminder - we need to also remember that all copy

 4 machine/laser printer paper has encoded into it the manufacturer of that paper as well as the year and

 5 month of manufacture. For that reason I always set aside some packets of copy paper with dates on

 6 them - for potential future use.”

 7          49.    On or about August 2, 2008, BROCKMAN, using his encrypted email system, directed

 8 Individual One “to eliminate direct calls to [the BVI and Cayman Islands] from landline or cell phones.”

 9 He further directed Individual One to have a BVI resident establish multiple Vonage accounts for their

10 use which “will have the effect of looking like a BVI person on the road calling back to the BVI . . .

11 which when the house scans all of the Vonage activity will look innocent.”

12          50.    On or about December 11, 2009, BROCKMAN, using his encrypted email system,

13 instructed Individual One that BROCKMAN wanted to authorize any expenses relating to the

14 “Mountain Queen” property that exceeded $2,000, and BROCKMAN did, in fact, subsequently review

15 and approve such expenditures.

16          51.    On or about February 19, 2010, BROCKMAN, using his encrypted email system,

17 directed Individual One to pursue the purchase of a “fishing lot” for $500,000 through an entity named

18 “Henke Properties.”
19          52.    On or about February 26, 2010, BROCKMAN, using his encrypted email system,

20 instructed Individual One that he should not pay more than $500,000 for the fishing lot property through

21 Henke Properties.

22          53.    On or before April 30, 2010, BROCKMAN directed Individual One, together with a

23 second nominee, to open a bank account at Mirabaud & Cie Banquiers Prives, Geneva, Switzerland

24 (“Mirabaud Bank”) in the name of Point, account number ***463. BROCKMAN further directed that

25 Individual One was to be a signatory on this bank account.

26          54.    On or about May 20, 2010, BROCKMAN directed Individual One to move most of the

27 remaining balance of funds on deposit in the Point account at Bermuda Commercial Bank, account

28 ***4132, approximately $1 million, to the Point Mirabaud Bank account ***463 in Switzerland.


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 1          55.    On or about May 24, 2010, BROCKMAN directed that a distribution from Vista to Point,

 2 in the amount of $799,008,883, from VEF II’s sale of a portfolio company, was to be deposited in the

 3 Point account at Mirabaud Bank.

 4          56.    On or about May 26, 2010, BROCKMAN, using his encrypted email system, directed

 5 Individual One to make specific edits, changes, and amendments to the VEF II Limited Partnership

 6 Agreement on behalf of Point.

 7          57.    On or about May 27, 2010, BROCKMAN, using his encrypted email system, instructed

 8 Individual One to pose questions to Individual Two regarding fees payable from Point to Vista in

 9 association with the sale of a portfolio company.

10          58.    On or about June 5, 2010, at BROCKMAN’s direction, Individual One provided

11 BROCKMAN with the user identification and password to directly access the Point bank account at

12 Mirabaud Bank, account ***463.

13          59.    On or about July 8, 2010, BROCKMAN, using his encrypted email system, directed an

14 additional investment, through Point, of $3,163,833 in a Vista fund named Vista Equity Partners Fund

15 III.

16          60.    On or about July 13, 2010, BROCKMAN, using his encrypted email system, informed

17 Individual One that due to the “Ventyx transaction,” he wished to restructure “two major structures,”

18 which “cleans up these two structures forever – yet leaves them available for charitable giving,
19 investment management fee income, investments in real estate, investments in companies, and in the

20 case of dire emergency – for loans to individuals or other entities.”

21          61.    On or about July 23, 2010, BROCKMAN, using his encrypted email system, instructed

22 Individual One that Edge and Cabot should not be added under the AEBCT umbrella because, “[w]e

23 never can tell what crazy things the house is going to do – and the AEBCT is exposed to them.”

24          62.    On or about August 30, 2010, BROCKMAN, using his encrypted email system, directed

25 Individual One to become a Director of SJTC.

26          63.    On or about September 27, 2010, BROCKMAN, using his encrypted email system, gave

27 Individual One instructions regarding Point’s investment in VEF II. Specifically, with regard to the

28 purchase of a portfolio company called Sunquest, BROCKMAN told Individual One that he was not


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 1 satisfied with the proposed “management and programming structure,” and that the proposed purchase

 2 was not a “reasonable thing for us to be involved [in].”

 3          64.    On or about October 30, 2010, BROCKMAN, using his encrypted email system,

 4 corresponded with Individual One about using Point to purchase a “Swiss private bank.”

 5          65.    On or about November 1, 2010, BROCKMAN, using his encrypted email system,

 6 corresponded with Individual One about Point’s August 24, 2004 purchase of Edge’s investment in VEF

 7 II for $154,582,366, and the destruction of records at Vista reflecting the purchase.

 8          66.    On or about November 10, 2010, BROCKMAN, using his encrypted email system,

 9 directed Individual One to invest $50 million, through Point, in a Vista fund named Vista Foundation

10 Fund.

11          67.    On or about December 6, 2010, BROCKMAN, using his encrypted email system,

12 notified Individual One that Point had approximately $1,414,658,673 in assets, which differed from

13 internal reports, and directed Individual One to make several corrections to Point’s financial statements.

14          68.    On or about December 28, 2010, BROCKMAN directed Individual One to fabricate a

15 backdated memorandum memorializing a fictitious conversation with a deceased former nominee

16 “where he resigns and concurs with your suggestion as [a replacement nominee] – provide an original

17 wet-ink signed copy of this memo to Bob.”

18          69.    On or about July 12, 2011, BROCKMAN, using his encrypted email system, directed

19 Individual One to prepare for BROCKMAN a monthly “Significant Transaction Report” regarding

20 Point, and to include any transaction exceeding $100,000.

21          70.    On or about October 20, 2011, BROCKMAN, using his encrypted email system, directed

22 Individual One to attend a money laundering conference “if possible under an assumed identity.”

23          71.    On or about January 7, 2012, BROCKMAN, using his encrypted email system, directed

24 Individual One to make additional investments, through Point, in Vista funds named Vista Equity

25 Partners Fund IV, Vista Foundation Fund I, and Vista Equity Partners Fund III.

26          72.    On or about February 14, 2012, BROCKMAN, using his encrypted email system,

27 informed Individual One that he was interested in investing, through Point, $400 million in a Vista fund

28 named Vista Equity Partners Fund IV, provided Point obtained a percentage of direct ownership in the


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 1 company purchased as part of the deal.

 2          73.    On or about May 1, 2012, BROCKMAN, using his encrypted email system, instructed

 3 Individual One on how to structure BROCKMAN’S investment in the “debt market” in such a way to

 4 avoid IRS scrutiny of the AEBCT.

 5          74.    On or about May 3, 2012, BROCKMAN directed Individual One to invest, through

 6 Point, $400 million in a Vista fund named Vista Equity Partners Fund IV.

 7          75.    On or about August 12, 2012, BROCKMAN, using his encrypted email system, directed

 8 Individual One to invest, through Point, $16.71 million in a Vista fund named Vista Equity Partners

 9 Fund IV, to which BROCKMAN, through Point, had already committed $600 million.

10          76.    On or about November 25, 2012, BROCKMAN, using his encrypted email system,

11 instructed Individual One to “register our disappointment” with a Vista employee regarding tax

12 withholding on expected dividends from Vista.

13          77.    On or about December 9, 2012, BROCKMAN, using his encrypted email system,

14 directed Individual One to change the structure in which the shares of Point were held, moving them to a

15 “purpose trust” with a “dressed up charitable purpose” to avoid inquiries from banks and “the house”

16 about the “ultimate beneficial owners” of Point.

17          78.    On or about February 17, 2013, BROCKMAN, using his encrypted email system,

18 provided Individual One talking points regarding the negotiation of a gift from BROCKMAN to Centre
19 College in the name of the AEBCT.

20          79.    On or about March 19, 2013, BROCKMAN instructed Individual One: 1) that if Point

21 were to invest directly in a United States company, it needed to do so through a private equity manager;

22 and 2) to secure a “wet-ink signed letter of resignation and appointment of a new trust protector” and

23 send the document to BROCKMAN.

24          80.    On or about May 2, 2013, BROCKMAN, using his encrypted email system, directed

25 Individual One to commit, through Point, $50 million to a Vista fund named Vista Foundation Fund II.

26          81.    On or about July 12, 2013, BROCKMAN, using his encrypted email system, directed

27 over $7 million of additional investments, through Point, to various Vista funds.

28


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 1          82.     On or about July 24, 2013, BROCKMAN, using his encrypted email system, instructed

 2 Individual One on a press release for a contemplated $250 million gift from BROCKMAN to Centre

 3 College in the name of the AEBCT.

 4          83.     On or about August 22, 2013, BROCKMAN, using his encrypted email system, sent

 5 Individual One detailed instructions regarding a gift from BROCKMAN to Centre College in the name

 6 of the AEBCT, including talking points, and directed Individual One to threaten to “pull[] the plug on

 7 the project” if BROCKMAN’s demands were not met.

 8          84.     On or about August 31, 2013, BROCKMAN, using his encrypted email system,

 9 instructed Individual One to cancel the gift to Centre College, and instructed Individual One what to tell

10 Centre College as to why the gift was cancelled.

11          85.     On or about November 19, 2013, BROCKMAN, using his encrypted email system,

12 instructed Individual One not to make a commitment, through Point, to a Vista fund named Vista Equity

13 Partners Fund V, and that an existing investment commitment, through Point, must be “reeled back to

14 $100 million,” from $150 million.

15          86.     On or about December 1, 2013, BROCKMAN, using his encrypted email system, gave

16 Individual One specific instructions to correct the record for distributions of profits from Vista to Point -

17 “the waterfall.” Specifically, BROCKMAN directed that the return of capital in a specific distribution

18 should be $8,489,317, and the total return should be $41,364,185.
19          87.     On or about January 23, 2014, BROCKMAN, using his encrypted email system, directed

20 Individual One to make additional investments, through Point, in Vista funds named Vista Foundation

21 Fund I, Vista Equity Partners Fund IV, and Vista Foundation Fund II.

22          88.     On or about February 16, 2014, BROCKMAN directed Individual One to draft a letter to

23 BROCKMAN on behalf of SJTC requesting that BROCKMAN negotiate a sale of Reynolds &

24 Reynolds to Vista.

25          89.     On or about April 5, 2014, Individual One requested BROCKMAN purchase a house for

26 Individual One in Australia where Individual One’s family could live if Individual One were to “be

27 subjected to proceedings.”

28


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 1          90.    On or about May 2, 2014, BROCKMAN, using his encrypted email system, sent

 2 Individual One a memorandum informing Individual One of BROCKMAN’s decisions regarding

 3 Individual One’s annual bonus and a loan to Individual One to purchase a home in Sydney, Australia.

 4          91.    On or about May 4, 2014, BROCKMAN, using his encrypted email system, instructed

 5 Individual One that BROCKMAN’s annual salary from Reynolds & Reynolds must be increased to

 6 permit him to “charter” the luxury yacht “Turmoil” (later renamed “Albula”) for 10 weeks per year at

 7 $150,000 per week plus fuel.

 8          92.    On or about May 10, 2014, BROCKMAN, using his encrypted email system, instructed

 9 Individual One to open a bank account in Switzerland for the AEBCT and to respond to inquiries

10 regarding BROCKMAN’s relationship to the AEBCT and the derivation of its assets. BROCKMAN

11 also informed Individual One that his initial investment in VEF II came from a “substantial dividend”

12 without the payment of any withholding tax.

13          93.    On or about June 29, 2014, BROCKMAN, using his encrypted email system, agreed to

14 provide Individual One with $3 million to purchase a home in Australia.

15          94.    On or about July 21, 2014, BROCKMAN authorized a $75 million loan from

16 BROCKMAN to Individual Two.

17          95.     On or about October 3, 2014, BROCKMAN, using his encrypted email system,

18 instructed Individual One regarding “buying out” Vista’s investment in Reynolds & Reynolds.
19          96.    On or about October 9, 2014, BROCKMAN, using his encrypted email system, requested

20 and received from Individual One the username and password necessary to access the secure Vista

21 website, which allowed him to download “all financials, calls and distribution notices etc.”

22          97.    On or about December 26, 2014, BROCKMAN, using his encrypted email system,

23 directed Individual One to invest, through Point, $63.89 million in a Vista fund named Vista Equity

24 Partners Fund V.

25          98.    On or about January 2, 2015, BROCKMAN, using his encrypted email system, directed

26 Individual One to make additional investments, through Point, in Vista funds named Vista Equity

27 Partnership Fund IV, Vista Foundation Fund I, and Vista Foundation Fund II.

28


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 1          99.    On or about January 18, 2015, BROCKMAN directed Individual One to explore having

 2 BROCKMAN’S son renounce his United States citizenship and assume management of the offshore

 3 structure.

 4          100.   On or about May 9, 2015, BROCKMAN, using his encrypted email system, directed

 5 Individual One to make an additional investment, through Point, in a Vista fund named Vista Equity

 6 Partners Fund IV.

 7          101.   On or about June 2, 2015, BROCKMAN, using his encrypted email system, instructed

 8 Individual One to determine the value of Point’s investment in Vista Equity Partners Fund IV, and why

 9 it was reported as about 11% of the fund (or about $40 million), when BROCKMAN recalled that

10 Point’s investment in the fund was 17.9% (valued at approximately $70 million).

11          102.   On or about February 13, 2016, BROCKMAN, using his encrypted email system,

12 directed Individual One to invest, through Point, $33.08 million in a Vista fund named Vista Equity

13 Partners Fund IV.

14          103.   On or about February 24, 2016, BROCKMAN, using his encrypted email system,

15 directed Individual One to purchase, through Cabot and Edge, $20 million of “first lien debt in a Vista

16 software company.”

17          104.   On or about April 18, 2016, BROCKMAN, using his encrypted email system, directed

18 Individual One to make an additional investment, through Point, in a Vista fund named Vista
19 Foundation Fund II-A.

20          105.   On or about June 9, 2016, BROCKMAN, using his encrypted email system, instructed

21 Individual One that before Individual One committed to make an additional investment, through Point,

22 in a Vista fund named Vista Equity Partners Fund IV for the purpose of purchasing a company named

23 Misys, BROCKMAN needed a list of additional information including: 1) complete details about the

24 current operation of Misys; 2) complete details about the sale of Misys; 3) documentation as to the

25 valuation of Misys; and 4) a seven-year forecast of the operation proformas of Misys.

26          106.   On or about July 3, 2017, BROCKMAN, using his encrypted email system, directed

27 Individual One to make additional investments, through Point, in Vista funds named Vista Equity

28 Partners Fund III, Vista Equity Partners Fund IV, Vista Equity Partners Fund VI, Vista Foundation Fund


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 1 I, and Vista Foundation Fund II-A.

 2          107.   On or about July 26, 2017, BROCKMAN, using his encrypted email system, directed

 3 Individual One how to playact an upcoming “negotiation” with BROCKMAN including which points to

 4 contest and which points to concede. BROCKMAN directed Individual One to “continue to gripe about

 5 co-invests - but then give in.”

 6          108.   On or about December 25, 2017, BROCKMAN, using his encrypted email system,

 7 directed Individual One to position the luxury yacht “Albula” in Barcelona for BROCKMAN’S

 8 upcoming vacation so that BROCKMAN did not get billed for the costs of moving the yacht.

 9 BROCKMAN further directed Individual One “[f]or appearances sake it would probably be good for

10 you [and your family] to take some vacation in that time frame before we get there.”

11          109.   On or about April 20, 2018, BROCKMAN directed and caused the creation of a private

12 equity fund named “Falcata Tech Investment Fund I, L.P.,” and directed Individual One to commit,

13 through Point, approximately $1 billion to the fund.

14          110.   On or about May 17, 2005, BROCKMAN directed and caused a transfer of

15 approximately $15 million from a bank account at VP Bank in the BVI, account ***221, in the name of

16 Edge Investment Fund, Ltd., to bank account ***690 at VP Bank in the BVI in the name of Regency

17 Management, Ltd., for the purchase of the “Mountain Queen” property located in Pitkin County,

18 Colorado for BROCKMAN’s personal use.
19          111.   On or about December 16, 2010, BROCKMAN directed Individual One to transfer

20 approximately $15 million from a bank account at Bermuda Commercial Bank, account ***703-01, in

21 the name of Edge, to another bank account at Bermuda Commercial Bank, account ***717-01, in the

22 name of Regency Management, Ltd., for the purchase of the “Frying Pan Canyon Ranch” property

23 located in Pitkin County, Colorado for BROCKMAN’s personal use.

24          112.   On or about March 9, 2012, BROCKMAN was informed by email that the IRS required

25 reporting of “foreign assets” through the filing of FBARs.

26          113.   On or about April 16, 2013, BROCKMAN caused Individual One to transfer

27 approximately $80 million from a bank account at Bermuda Commercial Bank, account ***703-01, in

28 the name of Edge, to bank account ***951 at Mirabaud Bank in Switzerland, also in the name of Edge.


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 1          114.   On or about January 24, 2014, BROCKMAN caused Individual One to transfer $75,000

 2 from a bank account at Bermuda Commercial Bank in Bermuda, account ***717-01, in the name of

 3 Regency Management, Ltd., to a bank account at Wells Fargo Bank, account ***891, to be used for the

 4 maintenance of “Mountain Queen” for BROCKMAN’s personal use.

 5          115.   In or about January 2014 and continuing through December 2014, BROCKMAN directed

 6 Individual One to transfer approximately $8.2 million from a bank account at Bermuda Commercial

 7 Bank, account ***717-01, in the name of Regency Management, Ltd., to a bank account at Wells Fargo

 8 Bank, account ***8029, in the name of Henke Properties, to be used primarily for the improvement of

 9 the “Frying Pan Canyon Ranch” for BROCKMAN’s personal use.

10          116.   On or about November 8, 2016, BROCKMAN directed Individual One to transfer

11 approximately $3.5 million from a bank account at Mirabaud Bank in Switzerland, account ***017, in

12 the name of Cabot, to bank account ***800 at Florida Community Bank, NA, for the purchase of the

13 luxury yacht “Turmoil” (later renamed “Albula”) for BROCKMAN’s personal use.

14          117.   On or about December 22, 2016, BROCKMAN directed Individual One to transfer

15 approximately $ 29,345,705 from a bank account at Mirabaud Bank in Switzerland, account ***017, in

16 the name of Cabot, to bank account ***800 at Florida Community Bank, NA, for the purchase of the

17 luxury yacht “Turmoil” (later renamed “Albula”) for BROCKMAN’s personal use.

18          118.   On or about June 11, 2017, BROCKMAN directed Individual One to forward to him a

19 “Significant Transaction Report,” which Individual One had been maintaining for BROCKMAN since

20 2011, which detailed every transfer of funds involving $100,000 or more regarding the foreign bank

21 accounts of Point, Edge, and Cabot.

22          119.   On or about February 26, 2011, BROCKMAN, using his encrypted email system,

23 prepared and delivered a “Performance Review” to Individual One, in which BROCKMAN reviewed

24 Individual One’s work during the 2010 year, and described expectations and goals for the 2011 year.

25 Namely, BROCKMAN directed Individual One to “take over the accounting and reporting processes for

26 Point” and “maintain the same processes as are currently in effect.”

27          120.   On or about February 26, 2011, BROCKMAN, using his encrypted email system,

28 increased Individual One’s annual salary from $325,000 to $420,000, and granted Individual One a


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 1 bonus of $275,000.

 2          121.   On or about April 5, 2012, BROCKMAN prepared and delivered a “Performance

 3 Review” to Individual One in which BROCKMAN reviewed Individual One’s work during the 2011

 4 year and described expectations and goals for the 2012 year. Namely, BROCKMAN directed Individual

 5 One: “investments should be made directly by Point;” to maintain minimum bank balances in Bermuda

 6 to avoid Bermuda freezing assets; to build new banking relationships in Switzerland; and “maintain files

 7 for each Vista Fund.”

 8          122.   On or about April 5, 2012, BROCKMAN granted Individual One a bonus of $225,000.

 9          123.   On or about April 7, 2013, BROCKMAN, using his encrypted email system, prepared

10 and delivered a “Performance Review” to Individual One in which BROCKMAN reviewed Individual

11 One’s work during the 2012 year and described expectations and goals for the 2013 year. Namely,

12 BROCKMAN directed Individual One: to review the “Doomsday Materials” – undated letters of

13 resignation for all nominees for BROCKMAN’s offshore structure; move funds out of Bermuda

14 Commercial Bank; and continue to monitor and keep files on Point’s investments in Vista funds.

15          124.   On or about April 7, 2013, BROCKMAN granted Individual One a bonus of $225,000.

16          125.   On or about April 6, 2014, BROCKMAN granted Individual One a bonus of $325,000.

17          126.   On or about April 6, 2014, BROCKMAN, using his encrypted email system, prepared

18 and delivered a “Performance Review” to Individual One in which BROCKMAN reviewed Individual
19 One’s work during the 2013 year and described expectations and goals for the 2014 year. Namely,

20 BROCKMAN directed Individual One to: maintain files for each Vista fund; provide a monthly report

21 of business expenses; create a new computer layout including encrypted email servers; and “[o]perate as

22 much as possible in a paperless manner – such that if someone were to come in your door unannounced

23 everything would be in encrypted digital form.”

24          127.   On or about January 18, 2015, BROCKMAN sent Individual One a “To Do List” which

25 included: 1) begin the formation of a new Private Equity Management Company and Private Equity

26 Fund that BROCKMAN and his son would manage; 2) notice that BROCKMAN will lease the luxury

27 yacht “Turmoil” (later renamed “Albula”) for 10 weeks a year for $150,000 per week plus fuel; and 3)

28 “find a way that someone else runs Point in order to satisfy the auditors.”


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 1          128.   On or about October 14, 2013, BROCKMAN directed and caused to be prepared and

 2 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2012, which he

 3 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain

 4 income he earned as a result of his investments in Vista funds through Point during the 2012 calendar

 5 year.

 6          129.   On or about October 11, 2014, BROCKMAN directed and caused to be prepared and

 7 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2013, which he

 8 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain

 9 income he earned as a result of his investments in Vista funds through Point during the 2013 calendar

10 year.

11          130.   On or about October 14, 2015, BROCKMAN directed and caused to be prepared and

12 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2014, which he

13 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain

14 income he earned as a result of his investments in Vista funds through Point during the 2014 calendar

15 year.

16          131.   On or about October 14, 2016, BROCKMAN directed and caused to be prepared and

17 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2015, which he

18 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain
19 income he earned as a result of his investments in Vista funds through Point during the 2015 calendar

20 year.

21          132.   On or about October 24, 2017, BROCKMAN directed and caused to be prepared and

22 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2016, which he

23 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain

24 income he earned as a result of his investments in Vista funds through Point during the 2016 calendar

25 year.

26          133.   On or about October 15, 2018, BROCKMAN directed and caused to be prepared and

27 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2017, which he

28 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain


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 1 income he earned as a result of his investments in Vista funds through Point during the 2017 calendar

 2 year.

 3          134.    On or about October 15, 2019, BROCKMAN directed and caused to be prepared and

 4 filed with the IRS a U.S. Individual Income Tax Return, Form 1040, for the tax year 2018, which he

 5 knew to be false, to wit: BROCKMAN failed to accurately report and pay income tax on capital gain

 6 income he earned as a result of his investments in Vista funds through Point during the 2018 calendar

 7 year.

 8          All in violation of Title 18, United States Code, Section 371.

 9 COUNT TWO:              (26 U.S.C. § 7201 – Tax Evasion – 2012)

10          135.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

11 Indictment are re-alleged and incorporated as if set forth fully herein.

12          136.    From on or about December 1, 1999, and continuing through on or about October 14,

13 2013 in the Northern District of California and elsewhere, the defendant,

14                                         ROBERT T. BROCKMAN,

15 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

16 the tax year 2012, by committing the following affirmative acts, among others:

17                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

18                  b.     On or about October 14, 2013, preparing and causing to be prepared, and signing

19 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

20 1040, for the calendar year 2012, which was submitted to the IRS.

21          All in violation of Title 26, United States Code, Section 7201.

22 COUNT THREE:            (26 U.S.C. § 7201 – Tax Evasion – 2013)

23          137.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

24 Indictment are re-alleged and incorporated as if set forth fully herein.

25          138.    From on or about December 1, 1999, and continuing through on or about October 11,

26 2014 in the Northern District of California and elsewhere, the defendant,

27                                         ROBERT T. BROCKMAN,

28 willfully attempted to evade and defeat income tax due and owing to the United States of America, for


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 1 the tax year 2013, by committing the following affirmative acts, among others:

 2                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

 3                  b.     On or about October 11, 2014, preparing and causing to be prepared, and signing

 4 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

 5 1040, for the calendar year 2013, which was submitted to the IRS.

 6          All in violation of Title 26, United States Code, Section 7201.

 7 COUNT FOUR:             (26 U.S.C. § 7201 – Tax Evasion – 2014)

 8          139.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

 9 Indictment are re-alleged and incorporated as if set forth fully herein.

10          140.    From on or about December 1, 1999, and continuing through on or about October 14,

11 2015 in the Northern District of California and elsewhere, the defendant,

12                                         ROBERT T. BROCKMAN,

13 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

14 the tax year 2014, by committing the following affirmative acts, among others:

15                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

16                  b.     On or about October 14, 2015, preparing and causing to be prepared, and signing

17 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

18 1040, for the calendar year 2014, which was submitted to the IRS.
19          All in violation of Title 26, United States Code, Section 7201.

20 COUNT FIVE:             (26 U.S.C. § 7201 – Tax Evasion – 2015)

21          141.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

22 Indictment are re-alleged and incorporated as if set forth fully herein.

23          142.    From on or about December 1, 1999, and continuing through on or about October 14,

24 2016 in the Northern District of California and elsewhere, the defendant,

25                                         ROBERT T. BROCKMAN,

26 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

27 the tax year 2015, by committing the following affirmative acts, among others:

28                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and


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 1                  b.     On or about October 14, 2016, preparing and causing to be prepared, and signing

 2 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

 3 1040, for the calendar year 2015, which was submitted to the IRS.

 4          All in violation of Title 26, United States Code, Section 7201.

 5 COUNT SIX:              (26 U.S.C. § 7201 – Tax Evasion – 2016)

 6          143.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

 7 Indictment are re-alleged and incorporated as if set forth fully herein.

 8          144.    From on or about December 1, 1999, and continuing through on or about October 24,

 9 2017 in the Northern District of California and elsewhere, the defendant,

10                                         ROBERT T. BROCKMAN,

11 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

12 the tax year 2016, by committing the following affirmative acts, among others:

13                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

14                  b.     On or about October 24, 2017, preparing and causing to be prepared, and signing

15 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

16 1040, for the calendar year 2016, which was submitted to the IRS.

17          All in violation of Title 26, United States Code, Section 7201.

18 COUNT SEVEN:            (26 U.S.C. § 7201 – Tax Evasion – 2017)

19          145.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

20 Indictment are re-alleged and incorporated as if set forth fully herein.

21          146.    From on or about December 1, 1999, and continuing through on or about October 15,

22 2018 in the Northern District of California and elsewhere, the defendant,

23                                         ROBERT T. BROCKMAN,

24 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

25 the tax year 2017, by committing the following affirmative acts, among others:

26                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

27                  b.     On or about October 15, 2018, preparing and causing to be prepared, and signing

28 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form


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 1 1040, for the calendar year 2017, which was submitted to the IRS.

 2          All in violation of Title 26, United States Code, Section 7201.

 3 COUNT EIGHT:            (26 U.S.C. § 7201 – Tax Evasion – 2018)

 4          147.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

 5 Indictment are re-alleged and incorporated as if set forth fully herein.

 6          148.    From on or about December 1, 1999, and continuing through on or about October 15,

 7 2019 in the Northern District of California and elsewhere, the defendant,

 8                                         ROBERT T. BROCKMAN,

 9 willfully attempted to evade and defeat income tax due and owing to the United States of America, for

10 the tax year 2018, by committing the following affirmative acts, among others:

11                  a.     The acts described in paragraphs 43 through 134 of this Indictment; and

12                  b.     On or about October 15, 2019, preparing and causing to be prepared, and signing

13 and causing to be signed, a false and fraudulent United States Individual Income Tax Return, Form

14 1040, for the calendar year 2018, which was submitted to the IRS.

15          All in violation of Title 26, United States Code, Section 7201.

16 COUNT NINE:             (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2013)

17          149.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

18 Indictment are re-alleged and incorporated as if fully set forth here.
19          150.    On or about June 30, 2014, in the Northern District of California and elsewhere, the

20 defendant,

21                                         ROBERT T. BROCKMAN,

22 did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,

23 an FBAR for the 2013 calendar year disclosing that he had a financial interest in, and signatory and

24 other authority over, bank, securities, and other financial accounts in foreign countries which had

25 aggregate values of more than $10,000, while violating another law of the United States and as part of a

26 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at

27 Mirabaud Bank in Switzerland and Bermuda Commercial Bank in Bermuda, in the names of Edge and

28 Point.


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 1          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

 2 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of

 3 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

 4 COUNT TEN:              (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2014)

 5          151.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

 6 Indictment are re-alleged and incorporated as if fully set forth here.

 7          152.    On or about June 30, 2015, in the Northern District of California and elsewhere, the

 8 defendant,

 9                                         ROBERT T. BROCKMAN,

10 did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,

11 an FBAR for the 2014 calendar year disclosing that he had a financial interest in, and signatory and

12 other authority over, bank, securities, and other financial accounts in foreign countries which had

13 aggregate values of more than $10,000, while violating another law of the United States and as part of a

14 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at

15 Mirabaud Bank in Switzerland and Bermuda Commercial Bank in Bermuda, in the names of Edge,

16 Cabot and Point.

17          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

18 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of
19 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

20 COUNT ELEVEN:           (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2015)

21          153.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

22 Indictment are re-alleged and incorporated as if fully set forth here.

23          154.    On or about June 30, 2016, in the Northern District of California and elsewhere, the

24 defendant,

25                                         ROBERT T. BROCKMAN,

26   did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,

27 an FBAR for the 2015 calendar year disclosing that he had a financial interest in, and signatory and

28 other authority over, bank, securities, and other financial accounts in foreign countries which had


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 1 aggregate values of more than $10,000, while violating another law of the United States and as part of a

 2 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at

 3 Mirabaud Bank in Switzerland, and Bermuda Commercial Bank in Bermuda in the name of Edge, Cabot

 4 and Point.

 5          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

 6 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of

 7 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

 8 COUNT TWELVE: (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2016)

 9          155.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

10 Indictment are re-alleged and incorporated as if fully set forth here.

11          156.    On or about April 15, 2017, in the Northern District of California and elsewhere, the

12 defendant,

13                                         ROBERT T. BROCKMAN,

14 did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,

15 an FBAR for the 2016 calendar year disclosing that he had a financial interest in, and signatory and

16 other authority over, bank, securities, and other financial accounts in foreign countries which had

17 aggregate values of more than $10,000, while violating another law of the United States and as part of a

18 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at
19 Mirabaud Bank in Switzerland and Bermuda Commercial Bank in Bermuda, in the name of Edge, Cabot

20 and Point.

21          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

22 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of

23 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

24 COUNT THIRTEEN: (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2017)

25          157.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

26 Indictment are re-alleged and incorporated as if fully set forth here.

27          158.    On or about April 15, 2018, in the Northern District of California and elsewhere, the

28 defendant,


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 1                                         ROBERT T. BROCKMAN,

 2 did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,

 3 an FBAR for the 2017 calendar year disclosing that he had a financial interest in, and signatory and

 4 other authority over, bank, securities, and other financial accounts in foreign countries which had

 5 aggregate values of more than $10,000, while violating another law of the United States and as part of a

 6 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at

 7 Mirabaud Bank in Switzerland and Bermuda Commercial Bank in Bermuda, in the name of Edge, Cabot

 8 and Point.

 9          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

10 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of

11 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

12 COUNT FOURTEEN:                 (31 U.S.C. §§ 5314 & 5322(b) – Failure to File FBAR – 2018)

13          159.    The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

14 Indictment are re-alleged and incorporated as if fully set forth here.

15          160.    On or about April 15, 2019, in the Northern District of California and elsewhere, the

16 defendant,

17                                         ROBERT T. BROCKMAN,

18 did unlawfully, willfully, and knowingly fail to file with the United States Department of the Treasury,
19 an FBAR for the 2018 calendar year disclosing that he had a financial interest in, and signatory and

20 other authority over, bank, securities, and other financial accounts in foreign countries which had

21 aggregate values of more than $10,000, while violating another law of the United States and as part of a

22 pattern of any illegal activity involving more than $100,000 in a 12-month period, to wit: accounts at

23 Mirabaud Bank in Switzerland, in the name of Edge, Cabot and Point.

24          All in violation of Title 31, United States Code, Sections 5314 & 5322(b); and Title 31, Code of

25 Federal Regulations, Sections 1010.350, 1010.306(c, d) & 1010.840(b) (formerly Title 31, Code of

26 Federal Regulations, Sections 103.24, 103.27(c, d) & 103.59(b)).

27 \\

28 \\


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 1 COUNTS FIFTEEN TO THIRTY-FOUR:                         (18 U.S.C. § 1343 – Wire Fraud Affecting a

 2                                                        Financial Institution)

 3          161.   The allegations set forth in paragraphs 1 through 27, and 30 through 134 of this

 4 Indictment are re-alleged and incorporated as if set forth fully herein.

 5          162.   From on or about October 8, 2008, and continuing through on or about April 21, 2010, in

 6 the Northern District of California and elsewhere, the defendant,

 7                                         ROBERT T. BROCKMAN,

 8 did knowingly, and with the intent to defraud, participate in, devise, and intend to devise, a scheme and

 9 artifice to defraud purchasers and sellers of the Debt as to a material matter, and to obtain money and

10 property by means of materially false and fraudulent pretenses, representations, and promises, and by

11 means of omission and concealment of material facts with a duty to disclose, all affecting a financial

12 institution, to wit: Deutsche Bank.

13          163.   On or about October 8, 2008, a Deutsche Bank employee advised BROCKMAN by email

14 that there was an opportunity to purchase a portion of the Debt at a discount. At the time, timely interest

15 payments were being made by Reynolds & Reynolds, UCSH, and DCS on the Debt as required by the

16 Credit Agreements.

17          164.   On or about November 24, 2008, a Reynolds & Reynolds employee emailed a Deutsche

18 Bank employee and advised that BROCKMAN “would like to find a way to purchase the 2nd & 3rd lien
19 debt” and was willing to invest $300 million.

20          165.    From on or about October 8, 2008, and continuing through on or about April 21, 2010,

21 BROCKMAN, together with others known and unknown to the Grand Jury, engaged in a fraudulent

22 scheme to deceive the purchasers and sellers of the Debt, through the Administrative Agent Deutsche

23 Bank, using Edge and Tangarra to purchase Debt, and concealing the fact that Edge, Tangarra, and

24 Individual One were controlled by BROCKMAN, and otherwise affiliated with DCS, UCSH and

25 Reynolds & Reynolds.

26                                    The Scheme and Artifice to Defraud

27          166.   It was part of the scheme and artifice to defraud for BROCKMAN, through Individual

28 One, to affirmatively conceal from sellers of the Debt the valuable economic information that the Debt


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 1 purchasers Edge and Tangarra were under common control with DCS, by BROCKMAN, by making

 2 material misrepresentations to Deutsche Bank.

 3          167.    It was further part of the scheme and artifice to defraud for BROCKMAN to circumvent

 4 material provisions of the Credit Agreements, which prohibited any individual or entity directly or

 5 indirectly under common control with DCS and Reynolds & Reynolds from purchasing any of the Debt

 6 without prior notice, full disclosure, and amendments to the Credit Agreements.

 7          168.    It was further part of the scheme and artifice to defraud for BROCKMAN to cause sellers

 8 of the Debt to sell portions of the Debt without informing them that the ultimate purchasers of the Debt

 9 were affiliated with DCS, Reynolds & Reynolds, and BROCKMAN.

10          169.    It was further part of the scheme and artifice to defraud for BROCKMAN to use material,

11 non-public information about Reynolds & Reynolds to make decisions about purchasing portions of the

12 Debt through Edge and Tangarra.

13          170.    It was further part of the scheme and artifice to defraud for BROCKMAN to cause and

14 direct DCS, UCSH, and Reynolds & Reynolds to provide Deutsche Bank misleading financial

15 information for distribution to holders of the Debt, including audited financial statements for UCSH and

16 its subsidiaries, as well as quarterly compliance certificates, concealing the fact that an entity under

17 common control with DCS and Reynolds & Reynolds had purchased portions of the Debt.

18          171.    It was further part of the scheme and artifice to defraud for BROCKMAN to expose

19 sellers of the Debt, including Deutsche Bank, to multiple risks, including civil and regulatory liability, as

20 well as reputational damage.

21          172.    It was further part of the scheme and artifice to defraud that, from on or about October 8,

22 2008, and continuing through on or about April 21, 2010, and thereafter, BROCKMAN used a

23 proprietary, encrypted email system to communicate with Individual One and others.

24          173.    It was further part of the scheme and artifice to defraud that, on or about December 29,

25 2008, BROCKMAN, having noticed that the price for all three tiers of the Debt on the secondary market

26 had dropped significantly, sent Individual One an encrypted email indicating that BROCKMAN wanted

27 to purchase second and third tiers of the Debt using Edge as the purchasing entity.

28


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 1          174.    It was further part of the scheme and artifice to defraud that, on or about January 9, 2009,

 2 BROCKMAN sent Individual One an encrypted email indicating that Reynolds & Reynolds was likely

 3 to incur an accounting loss of approximately $1 billion for the 2008 calendar year which would cause

 4 the price of the Debt to drop further. On January 9, 2009, this fact was not available to the public

 5          175.    It was further part of the scheme and artifice to defraud that, on or about January 10,

 6 2009, BROCKMAN sent Individual One an encrypted email instructing Individual One to open an

 7 account with Deutsche Bank and purchase the second and third tiers of the Debt using Edge as the

 8 purchasing entity, and informed Individual One that BROCKMAN hoped to eventually purchase all of

 9 the second and third tiers of the Debt, which had a face value of $770 million.

10          176.    It was further part of the scheme and artifice to defraud that, in or about January 2009,

11 Individual One falsely represented to employees of Deutsche Bank that he represented a Swiss client

12 interested in purchasing debt of United States companies, particularly the Debt. As part of these false

13 representations, Individual One sent Deutsche Bank employees at least three emails purporting to

14 describe the ownership and control of Edge and Tangarra, none of which identified BROCKMAN as the

15 person in control of Edge and Tangarra. Individual One never disclosed to Deutsche Bank that

16 Individual One was employed by BROCKMAN, or that BROCKMAN retained full dominion and

17 control over Edge and Tangarra with respect to transactions involving the Debt.

18          177.    It was further part of the scheme and artifice to defraud that, on or about January 26,

19 2009, BROCKMAN directed and caused Individual One to open an account at Deutsche Bank for Edge.

20          178.    It was further part of the scheme and artifice to defraud that, on or about March 5, 2009,

21 BROCKMAN directed and caused Individual One to use Edge to purchase portions of the third tier of

22 the Debt with a face value of $10,228,750. Edge purchased this portion of the Debt from Deutsche

23 Bank, which had purchased it from an investor in the Northern District of California specifically to sell

24 it to Edge.

25          179.    It was further part of the scheme and artifice to defraud that, on or about March 9, 2009,

26 BROCKMAN directed and caused Individual One to use Edge to purchase portions of the third tier of

27 the Debt with a face value of $6,921,500. Edge purchased this portion of the Debt from Deutsche Bank,

28 which had purchased it from an investor in the Northern District of California specifically to sell it to


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 1 Edge.

 2          180.    It was further part of the scheme and artifice to defraud that, on or about April 6, 2009, in

 3 connection with the trades on March 5, 2009, and March 9, 2009, Individual One executed an

 4 “Assignment and Assumption” on behalf of Edge, falsely certifying that Edge was an “Eligible

 5 Assignee” under the third lien Credit Agreement.

 6          181.    It was further part of the scheme and artifice to defraud that, on or about March 9, 2009,

 7 BROCKMAN sent Individual One an encrypted email indicating that he wanted to purchase all of the

 8 second and third tiers of the Debt.

 9          182.    It was further part of the scheme and artifice to defraud that, on or about March 11, 2009,

10 a Deutsche Bank employee emailed BROCKMAN a seven-page presentation entitled, “Loan

11 Repurchase Follow-Up Discussion Materials.” The presentation discussed various strategies through

12 which Reynolds & Reynolds, or an affiliated entity, could purchase portions of the Debt in compliance

13 with the applicable Credit Agreements, and noted that ownership of the second and third tiers of the

14 Debt was concentrated among several investors, including an investor located in the Northern District of

15 California. At this time, Deutsche Bank was unaware that BROCKMAN had already purchased

16 portions of the second and third tiers of the Debt through Individual One, Edge, and Tangarra.

17          183.    It was further part of the scheme and artifice to defraud that, on or about March 30, 2009,

18 BROCKMAN directed and caused Individual One to use Edge to purchase portions of the second tier of
19 the Debt with a face value of $3 million. Edge purchased this Debt from Deutsche Bank, which had

20 purchased it from an investor in the Northern District of California specifically to sell it to Edge.

21          184.    It was further part of the scheme and artifice to defraud that, on or about August 7, 2009,

22 in connection with the trade on March 30, 2009, Individual One executed an “Assignment and

23 Assumption” on behalf of Edge, falsely certifying that Edge was an “Eligible Assignee” under the

24 second lien Credit Agreement.

25          185.    It was further part of the scheme and artifice to defraud that, from on or about March 5,

26 2009, and continuing through on or about April 22, 2009, BROCKMAN directed and caused Individual

27 One to use Edge to purchase portions of the second and third tiers of the Debt with an aggregate face

28 value of more than $67 million.


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 1          186.    It was further part of the scheme and artifice to defraud that, from about April 2009, and

 2 continuing through April 2010, BROCKMAN directed and caused materially false information about

 3 Reynolds & Reynolds’s financial performance to be distributed to holders of the Debt, including holders

 4 in the Northern District of California. Specifically, each of the following documents, made available to

 5 all holders of the Debt on the dates indicated, were materially false because they did not disclose the fact

 6 that Edge, an Affiliate of DCS and Reynolds & Reynolds, and under the dominion and control of

 7 BROCKMAN, had purchased portions of the Debt, contrary to the terms of the Credit Agreements:

 8           Date                                               Description
 9
         April 1, 2009      Reynolds & Reynolds’s 2008 Audited Financial Statements
10
         May 14, 2009       Reynolds & Reynolds’s March 31, 2009 Quarterly Compliance Certificate
11
       August 11, 2009      Reynolds & Reynolds’s June 30, 2009 Quarterly Compliance Certificate
12
      November 12, 2009 Reynolds & Reynolds’s September 30, 2009 Quarterly Compliance Certificate
13
        March 24, 2010      Reynolds & Reynolds’s December 31, 2009 Quarterly Compliance Certificate
14

15       April 6, 2010      Reynolds & Reynolds’s 2009 Audited Financial Statements

16          187.    It was further part of the scheme and artifice to defraud that, on or about April 21, 2010,

17 pursuant to a complete refinancing of the Debt through Deutsche Bank, the Debt was repaid in its

18 entirety, at full face value, including a payment of approximately $67,835,129 to Edge.
19          188.    It was further part of the scheme and artifice to defraud that, on or about April 21, 2010,

20 BROCKMAN had full dominion and control over the approximately $67,835,129 paid to Edge in

21 connection with the retirement of the portions of the Debt purchased by Edge.

22                                             The Use of the Wires

23          189.    It was further part of the scheme and artifice to defraud that, on or about the dates set

24 forth below, in the Northern District of California and elsewhere, for the purpose of executing the

25 aforementioned scheme, and attempting to do so, the defendant,

26                                          ROBERT T. BROCKMAN,

27 did knowingly transmit and cause to be transmitted in interstate and foreign commerce, by means of a

28 wire communication, certain writings, signs, signals, pictures, and sounds, specifically:


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 1      Count          Date                                 Description
 2
       FIFTEEN    March 12, 2009   Email to employees of Entity One, in the Northern District of
 3                                 California, regarding Entity One’s sale of third tier Debt to
                                   Deutsche Bank AG
 4
       SIXTEEN    March 12, 2009   Email to employees of Entity One, in the Northern District of
 5                                 California, regarding Entity One’s sale of third tier Debt to
                                   Deutsche Bank AG
 6

 7   SEVENTEEN    March 16, 2009   Email to employees of Entity One, in the Northern District of
                                   California, regarding Entity One’s sale of third tier Debt to
 8                                 Deutsche Bank AG

 9    EIGHTEEN     March 9, 2009   Email to employees of Entity One, in the Northern District of
                                   California, regarding Entity One’s sale of third tier Debt to
10                                 Deutsche Bank AG
11
      NINETEEN     March 9, 2009   Email to employees of Entity One, in the Northern District of
12                                 California, regarding Entity One’s sale of third tier Debt to
                                   Deutsche Bank AG
13
       TWENTY      March 9, 2009   Email to employees of Entity One, in the Northern District of
14                                 California, regarding Entity One’s sale of third tier Debt to
                                   Deutsche Bank AG
15

16    TWENTY-     March 11, 2009   Email to employees of Entity One, in the Northern District of
        ONE                        California, regarding Entity One’s sale of third tier Debt to
17                                 Deutsche Bank AG

18    TWENTY-     March 12, 2009   Email to employees of Entity One, in the Northern District of
        TWO                        California, regarding Entity One’s sale of third tier Debt to
19                                 Deutsche Bank AG
20
      TWENTY-     March 31, 2009   Email to employee of Entity Two, in the Northern District of
21     THREE                       California, regarding Entity Two’s sale of second tier Debt to
                                   Deutsche Bank AG
22
      TWENTY-      April 1, 2009   Email to employee of Entity Two, in the Northern District of
23     FOUR                        California, regarding Entity Two’s sale of second tier Debt to
                                   Deutsche Bank AG
24

25    TWENTY-      April 1, 2009   Email to employee of Entity Two, in the Northern District of
        FIVE                       California, regarding Entity Two’s sale of second tier Debt to
26                                 Deutsche Bank AG

27    TWENTY-      April 1, 2009   Email to employee of Entity Two, in the Northern District of
        SIX                        California, regarding Entity Two’s sale of second tier Debt to
28                                 Deutsche Bank AG

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 1     TWENTY-             April 7, 2009      Email to employee of Entity Two, in the Northern District of
 2      SEVEN                                 California, regarding Entity Two’s sale of second tier Debt to
                                              Deutsche Bank AG
 3
       TWENTY-             April 7, 2009      Email to employee of Entity Two, in the Northern District of
 4      EIGHT                                 California, regarding Entity Two’s sale of second tier Debt to
                                              Deutsche Bank AG
 5

 6     TWENTY-             April 1, 2009      IntraLinks wire transmission of Reynolds & Reynolds’s 2008
         NINE                                 Audited Financial Statements to Entity One in the Northern
 7                                            District of California

 8      THIRTY            May 14, 2009        IntraLinks wire transmission of Reynolds & Reynolds’s
                                              March 31, 2009 Quarterly Financial Statements to Entity One
 9                                            in the Northern District of California
10
        THIRTY-          August 11, 2009      IntraLinks wire transmission of Reynolds & Reynolds’s June
11        ONE                                 30, 2009 Quarterly Financial Statements to Entity One in the
                                              Northern District of California
12
        THIRTY-        November 12, 2009      IntraLinks wire transmission of Reynolds & Reynolds’s
13       TWO                                  September 30, 2009 Quarterly Financial Statements to Entity
                                              One in the Northern District of California
14

15      THIRTY-          March 24, 2010       IntraLinks wire transmission of Reynolds & Reynolds’s
         THREE                                December 31, 2009 Quarterly Financial Statements to Entity
16                                            One in the Northern District of California

17      THIRTY-            April 6, 2010      IntraLinks wire transmission of Reynolds & Reynolds’s 2009
         FOUR                                 Audited Financial Statements to Entity One in the Northern
18                                            District of California
19

20          All in violation of Title 18, United States Code, Section 1343.

21 COUNTS THIRTY-FIVE AND THIRTY-SIX:                     (18 U.S.C. § 1956(a)(1)(B)(i) – Concealment
                                                          Money Laundering); (18 U.S.C.
22                                                        § 1956(a)(1)(A)(ii) – Tax Evasion Money
                                                          Laundering)
23

24          190.    The allegations set forth in paragraphs 1 through 27, 30 through 134, and 163 through

25 189 of this Indictment are re-alleged and incorporated as if fully set forth here.

26          191.    Among other transactions, on or about March 2, 2016, in the Northern District of

27 California and elsewhere, the defendant,

28                                          ROBERT T. BROCKMAN,


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 1 did knowingly conduct and attempt to conduct the financial transactions described below on the dates

 2 and the amounts indicated, affecting interstate and foreign commerce, which involved the proceeds of a

 3 specified unlawful activity, namely violations of 18 U.S.C. § 1343 (Wire Fraud) and 18 U.S.C. § 1344

 4 (Bank Fraud), knowing that the property involved in these financial transaction represented the proceeds

 5 of some form of unlawful activity, with the intent to: (A) conceal and disguise the nature, source,

 6 ownership and control of the proceeds of said specified unlawful activity; and (B) to engage in conduct

 7 constituting a violation of 26 U.S.C. §§ 7201 and 7206(1).

 8          In furtherance of his objectives, BROCKMAN, among others, intentionally and knowingly

 9 directed, caused, and engaged in the following financial transactions:

10                 a.      BROCKMAN engaged in a scheme and artifice to defraud purchasers and sellers

11 of the Debt, including financial institutions whose deposits are insured by the Federal Deposit Insurance

12 Corporation (“FDIC”), Deutsche Bank, and others, which included the financial transactions described

13 in COUNTS FIFTEEN through THIRTY-FOUR, paragraphs 163 through 189, of this Indictment;

14                 b.      On or about April 21, 2010, BROCKMAN directed and otherwise caused the

15 Debt to be refinanced by Deutsche Bank in the approximate amount of $1.8 billion, resulting in a

16 payment to Edge in the approximate amount of $67,835,129, which amount was deposited in Edge’s

17 account at Bermuda Commercial Bank, account number ***703-01, as more particularly described in

18 paragraphs 187 and 188 of this Indictment (“the Proceeds”);
19                 c.      On or about December 16, 2010, BROCKMAN directed and otherwise caused

20 approximately $15 million of the Proceeds to be transferred from the Edge account at Bermuda

21 Commercial Bank, account number ***703-01, to the Regency Management, Ltd., account at Bermuda

22 Commercial Bank, account ***717-01, to be used for the December 28, 2010 purchase and subsequent

23 development of the “Frying Pan Canyon Ranch” in Pitkin County, Colorado;

24                 d.      On or about November 16, 2012, BROCKMAN directed and otherwise caused

25 approximately $49,100,000 of the Proceeds to be transferred from Edge’s account at Bermuda

26 Commercial Bank, account ***703-01, to an account in the United States at Bank of America, for

27 investment in a Vista Equity Partners Fund III-Parallel (“VEPF III-Parallel”) portfolio company named

28 Sumtotal;


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 1                  e.     On or about November 19, 2012, BROCKMAN directed and otherwise caused

 2 approximately $26,369,672 of capital gains and profits payable on BROCKMAN’s investment, through

 3 Point, in Sumtotal to be paid from the VEPF III-Parallel account at First Caribbean International Bank

 4 (“FCIB”), account ***696, to Point’s account at Mirabaud Bank in Switzerland, account ***463, said

 5 amount representing a portion of the Proceeds previously invested by BROCKMAN, through Edge and

 6 VEPF III-Parallel, in Sumtotal on November 16, 2012;

 7                  f.     On or about December 3, 2012, BROCKMAN directed and otherwise caused

 8 approximately $14,282,618 of the Proceeds to be transferred from Point’s account at Mirabaud Bank in

 9 Switzerland, account ***463, to an account held in the name of a Vista fund named Vista Equity

10 Partners Fund IV-Parallel (“VEPF IV-Parallel”), at FCIB, account ***960, for investment in a VEPF

11 IV-Parallel portfolio company named Sovos;

12                  g.     On or about March 2, 2016, BROCKMAN, as more particularly described below,

13 directed and otherwise caused approximately $47,686,187 of capital gains and profits payable on

14 BROCKMAN’s investment, through Point, in Sovos, and derived from the Proceeds, to be paid from the

15 VEPF IV-Parallel account at First Republic Bank in San Francisco, account ***447, to VEPF IV-

16 Parallel’s account at FCIB, account ***960, concealing BROCKMAN’s dominion and control over the

17 Proceeds, Point, and his liability to the IRS for income taxes due and owing on the capital gains realized

18 by him through Point; and
19                  h.     On or about March 2, 2016, BROCKMAN, as more particularly described below,

20 directed and otherwise caused approximately $41,545,359 of capital gains and profits payable on

21 BROCKMAN’s investment, through Point, in Sovos, and derived from the Proceeds, to be paid from the

22 VEPF IV-Parallel account at FCIB, account ***960, to Point’s account at Mirabaud Bank in

23 Switzerland, account ***463, concealing BROCKMAN’s dominion and control over these proceeds,

24 Point, and his liability to the IRS for income taxes due and owing on capital gains realized by him

25 through Point.

26 \\

27 \\

28 \\


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 1         Count           Date           Amount          Origin of Proceeds         Destination of Proceeds
 2
          THIRTY-    March 2, 2016     $47,686,187      VEPF IV-Parallel First      VEPF IV-Parallel FCIB,
 3         FIVE                                         Republic Bank,              Account No. ***960
                                                        Account No ***447
 4

 5        THIRTY-    March 2, 2016     $41,545,359      VEPF IV-Parallel            Point Investment, Ltd.,
            SIX                                         FCIB, Account No.           Mirabaud Bank, Account
 6                                                      ***960                      No. ***463

 7
             All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(ii), 1956(a)(1)(B)(i), and
 8
     2.
 9

10 COUNT THIRTY-SEVEN: (18 U.S.C. § 1956(a)(2)(B)(i) – International Concealment

11                                 Money Laundering)
12           The allegations set forth in paragraphs 1 through 27, 30 through 134, 163 through 189, and 191
13 of this Indictment are re-alleged and incorporated as if fully set forth here.

14           192.   Among other transactions, on or about March 2, 2016, in the Northern District of
15 California and elsewhere, the defendant,

16                                          ROBERT T. BROCKMAN,
17 did knowingly transfer and attempt to transfer funds, that is $41,545,359, from a place in the United

18 States, namely San Francisco, California, to a place outside the United States, namely, Switzerland, in a
19 series of financial transactions, as described in COUNTS THIRTY-FIVE and THIRTY-SIX, paragraph

20 191 of this Indictment, knowing that the funds involved in the transfer represented the proceeds of some

21 form of unlawful activity, and knowing that the transfer was designed in whole and in part to conceal

22 and disguise, the nature, ownership, and control of the proceeds of specified unlawful activity, namely

23 violations of 18 U.S.C. § 1343 (Wire Fraud) and 18 U.S.C. § 1344 (Bank Fraud).

24           All in violation of Title 18, United States Code, Sections 1956(a)(2)(B)(i) and 2.
25 COUNT THIRTY-EIGHT:                     (18 U.S.C. § 1512(b)(2)(B) – Evidence Tampering)
26           193.   The allegations set forth in paragraphs 1 through 27, 30 through 134, 163 through 189,
27 and 191 of this Indictment are re-alleged and incorporated as if fully set forth here.

28


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 1          194.    In or about June 2016, BROCKMAN knew it was likely that there would be a federal

 2 grand jury investigation in the Northern District of California to determine whether violations of, among

 3 other things, Title 26, United States Code, Section 7201, had been committed involving Point.

 4 BROCKMAN further knew that his relationship to AEBCT, Spanish Steps, SJTC, and Point, and their

 5 Directors, Officers, and Trustees, would be material to that investigation.

 6          195.    From on or about June 10, 2016, and continuing through on or about October 14, 2016, in

 7 the Northern District of California and elsewhere, the defendant,

 8                                          ROBERT T. BROCKMAN,

 9 did knowingly and corruptly persuade Individual One to alter, destroy, and mutilate documents and

10 computer evidence with the intent to impair their integrity and availability for use in an official

11 proceeding, to wit: a federal grand jury investigation in the Northern District of California.

12          196.    BROCKMAN’s corrupt actions included:

13                  a.      In or about June 2016, BROCKMAN learned that Individual Three, who was the

14 widow of a former nominee, was in possession of materials including documents and electronic media

15 which could reveal that BROCKMAN had complete dominion and control over AEBCT, Spanish Steps,

16 SJTC, and Point, as well as their Directors, Officers, and Trustees, and that BROCKMAN received the

17 benefit of all the income deposited into the bank accounts in these entities’ names;

18                  b.     Beginning in or about June 2016, and continuing until in or about October 2016,

19 BROCKMAN engaged in a scheme to obstruct justice by destroying evidence, and causing others to

20 destroy evidence, in an effort to prevent law enforcement authorities from learning of BROCKMAN’s

21 true relationship with AEBCT, Spanish Steps, SJTC, and Point, as well as their Directors, Officers, and

22 Trustees;

23                  c.     BROCKMAN engaged in multiple instances of obstructive conduct, including:

24 causing Individual One to make several trips from places outside the United States into the United States

25 for the purpose of destroying documents and electronic media; causing Individual One to physically

26 destroy documents and electronic media, which Individual One did using shredders, hammers, and other

27 means; and causing Individual One to transfer documents and electronic media from Individual Three’s

28 possession to BROCKMAN’s possession.


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 1          All in violation of Title 18, United States Code, Sections 1512(b)(2)(B) and 2.

 2 COUNT THIRTY-NINE:                      (18 U.S.C. § 1512(c)(1) – Destruction of Evidence)

 3          197.    The allegations set forth in paragraphs 1 through 27, 30 through 134, 163 through 189,

 4 191 and 196 of this Indictment are re-alleged and incorporated as if fully set forth here.

 5          198.    From on or about June 10, 2016, and continuing through on or about October 14, 2016, in

 6 the Northern District of California and elsewhere, the defendant

 7                                          ROBERT T. BROCKMAN,

 8 did knowingly and corruptly alter, destroy, and mutilate documents and computer evidence, with the

 9 intent to impair their integrity and availability for use in an official proceeding, to wit: a federal grand

10 jury investigation in the Northern District of California.

11          All in violation of Title 18, United States Code, Sections 1512(c)(1).

12 FORFEITURE ALLEGATION:                  (18 U.S.C. 982(a)(2)(A) and 28 U.S.C. § 2461(c) (Forfeiture of

13                                         Wire Fraud Proceeds))

14          199.    The allegations contained in this Indictment are re-alleged and incorporated by reference

15 for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 982(a)(2)(A) and

16 Title 28, United States Code, Section 2461(c).

17          200.    Upon conviction for any of the offenses alleged in COUNTS FIFTEEN through

18 THIRTY-FOUR, the defendant,
19                                          ROBERT T. BROCKMAN,

20 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(2)(A) and

21 Title 28, United States Code, Section 2461(c), any property, real or personal, which constitutes, or is

22 derived from, proceeds the defendant obtained, directly or indirectly, as a result of said offenses. Such

23 property shall include approximately $67,835,129 in United States currency.

24          201.    If any of the property described in paragraph 200 above, as a result of any act or omission

25 of the defendant:

26                  a.      cannot be located upon the exercise of due diligence;

27                  b.      has been transferred or sold to, or deposited with a third party;

28                  c.      has been placed beyond the jurisdiction of this Court;


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 1                  d.     has been substantially diminished in value; or

 2                  e.     has been commingled with other property which cannot be divided without

 3                         difficulty,

 4 it is the intention of the United States, pursuant to 18 U.S.C. § 982(b) and 28 U.S.C. § 2461(c),

 5 incorporating 21 U.S.C. § 853(p), to seek forfeiture of any other property of the defendant’s up to the

 6 value of the property described above.

 7          All pursuant to Title 18, United States Code, Section 982(a)(2)(A) and Title 28, United States

 8 Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

 9 FORFEITURE ALLEGATION:                 (18 U.S.C. § 982(a)(1) and 28 U.S.C. § 2461(c) (Forfeiture of

10                                        Money Laundering Proceeds))

11          202.    The allegations contained in this Indictment are re-alleged and incorporated by reference

12 for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 982(a)(1) and

13 Title 28, United States Code, Section 2461(c).

14          203.    Upon conviction for any of the offenses alleged in COUNTS THIRTY-FIVE through

15 THIRTY-SEVEN, the defendant,

16                                          ROBERT T. BROCKMAN,

17 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1) and Title

18 28, United States Code, Section 2461(c), all property, real or personal, involved in such an offense, or
19 any property traceable to such property. Such property shall include approximately $47,686,187 in

20 United States currency.

21          204.    If any of the property described in paragraph 203 above, as a result of any act or omission

22 of the defendant:

23                  a.     cannot be located upon exercise of due diligence;

24                  b.     has been transferred or sold to, or deposited with, a third party;

25                  c.     has been placed beyond the jurisdiction of the court;

26                  d.     has been substantially diminished in value; or

27                  e.     has been commingled with other property which cannot be divided without

28                         difficulty,


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                                            /s/
